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                      Exhibit A
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                                          Appraisal Report

                                                   Of


                               Tallevast Tract - 5.83 +/- Acres
                         South Cashua Drive & West Palmetto Street
                               Florence, South Carolina 29501
                              TMS: 90018-03-006, (-007), (-008)
                                 Appraiser File # M23-1031



                                             Prepared For
                                         Mr. Ross Appel
                                     McCullough, Khan, Appel
                                        2036 Ewall Street
                                     Mount Pleasant, SC 29464




                                                 As of
                                           August 15, 2022




                                          Prepared By
                                   Edward F. Hucks, MAI, SRA
                                  E. F. Hucks & Associates, Inc.
                                     3320 Highway 17 South
                                     Murrells Inlet, SC 29576




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  mechanical, including photocopying and recording, or by any information storage and retrieval system
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       September 12, 2023

       Ross Appel
       McCullough, Khan, Appel
       2036 Ewall Street
       Mount Pleasant, SC 29464


       RE:    Tallevast Tract - 5.83 +/- Acres
              South Cashua Drive & West Palmetto Street
              Florence, South Carolina 29501
              TMS: 90018-03-006, (-007), (-008)
              Appraiser File # M23-1031


       Dear Mr. Appel:

       At your request, we have inspected and appraised the above-referenced property. The
       subject property is three contiguous parcels, totaling 5.83+/- acres on South Cashua Drive
       and West Palmetto Street in Florence, South Carolina. The parcels identified as Florence
       County TMS 90018-03-006, 90018-03-007, and 90018-03-008.

       The purpose of this appraisal is to estimate the current market value of the fee simple
       interest in the subject property based on “As Is” condition and subject to the existing
       zoning. We have utilized the Sales Comparison the value the property on a “per Acre” basis.
       This is typically the most reliable method for valuing vacant land; therefore, the Cost
       Approach and the Income Approach were not developed; however, the Income Approach
       was utilized as a test of reasonableness.

       The subject property is improved with various older structures; however, due to the scope of
       this appraisal, per the request of the client, the subject’s improvements were not to be
       considered in the valuation of the property.

       This assignment is being reported as an Appraisal Report which is intended to comply with
       the reporting requirements set forth under Standards Rule 2-2 of the Uniform Standards of
       Professional Appraisal Practice (USPAP) for an Appraisal Report. As such, it represents
       summary descriptions and discussions of the subject property as well as the data, reasoning,
       and analyses that were used in the appraisal process to develop the opinion of value. The
       appraisers are not responsible for unauthorized use of this report.

      Based on the foregoing analysis, it is our conclusion that the market value of the fee simple
      interest in the entire subject property, based on “As Is” condition as of August 15, 2023, is:

                          Three Hundred Fifty Thousand Dollars
                                      ($350,000)
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       The reliance of this report is limited to the client/intended users; everyone else is considered
       an unintended user. All information contained within this submitted report is strictly for the
       sole use of the client/intended users and may not be used for any purpose by another party
       without the written consent of the appraisers.

       If we can be of any further assistance, please do not hesitate to contact us.


       Respectfully submitted,



       Edward F. Hucks, MAI, SRA
       SC State Certified General
       Real Estate Appraiser #CG138
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Mission Statement

      E. F. Hucks & Associates, Inc. is committed to providing our
clients with realistic, reliable residential and commercial appraisal
services and development consulting services that will enable our
clients to make informed decisions that are vital to their success in the
accomplishment of their goals.

     We will provide our services to owners, lenders, investors, and
developers in a professional manner for fees that are both reasonable
and profitable.
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Certification – E. F. “Buddy” Hucks, MAI, SRA

I certify that, to the best of my knowledge and belief:

    •    The statements of fact contained in this report are true and correct.

    •    The reported analyses, opinions, and conclusions are limited only by the reported assumptions and limiting
         conditions and are my personal, impartial, and unbiased professional analyses, opinions, and conclusions.

    •    I have no present or prospective interest in the property that is the subject of this report and no personal
         interest with respect to the parties involved.

    •    I have performed no services, as an appraiser or in any other capacity, regarding the property that is the
         subject of this report within the three-year period immediately preceding acceptance of this assignment.

    •    I have no bias with respect to the property that is the subject of this report or to the parties involved with
         this assignment.

    •    My engagement in this assignment was not contingent upon developing or reporting predetermined results.

    •    My compensation for completing this assignment is not contingent upon the development or reporting of a
         predetermined value or direction in value that favors the cause of the client, the amount of the value
         opinion, the attainment of a stipulated result, or the occurrence of a subsequent event directly related to the
         intended use of this appraisal.

    •    My analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity
         with the Uniform Standards of Professional Practice.

    •    I have made a personal inspection of the property that is the subject of this report.

    •    No one provided significant real property appraisal assistance to the person signing this certification.

    •    The reported analyses, opinions, and conclusions were developed, and this report has been prepared, in
         conformity with the Code of Professional Ethics and Standards of Professional Practice of the Appraisal
         Institute.

    •    The use of this report is subject to the requirements of the Appraisal Institute relating to review by its duly
         authorized representatives.

    •    As of the date of this report, I have completed the continuing education program for Designated Members
         of the Appraisal Institute.




         _______________________________
         Edward F. Hucks, MAI, SRA
         Certified General R.E. Appraiser #CG138
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Summary of Salient Facts and Conclusions




                                             geothinQ
Property Location:                    West Palmetto Street & S. Cashua Drive, Florence, SC

Property Description:                 The subject property is three contiguous parcels totaling 5.83+/-
                                      acres on South Cashua Drive and West Palmetto Street in
                                      Florence, South Carolina. The subject property is improved with
                                      various structures; however, due to the scope of this appraisal,
                                      per the request of the client, the subject’s improvements were not
                                      to be considered in the valuation of the property.

Florence County PIN:                  90018-03-008, 90018-03-007, 90018-03-006
Owner of Record:                      William D. V. Tallevast

Date of Appraisal Report:             September 12, 2023 (Date Report Signed)
Effective Date of Appraisal:          August 15, 2023

Purpose:                              Estimate the current market value of the fee simple interest in the
                                      subject property based on “as is” condition.

Total Land Area:                      5.83 +/- Acres

Zoning:                               R-1 – Single-Family Residential, Large Lots – Florence County
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Present Use:                       Land with Older Improvements
Highest and Best Use:              Low Density Single-Family Residential Development

Valuation:                         Consideration was given to all three techniques, and it was
                                   determined that only the Sales Comparison Approach to value is
                                   applicable in valuing the subject property. The Sales Comparison
                                   Approach to value is applicable in valuing the subject property
                                   based on “As Is” condition. This is the most reliable method for
                                   valuing vacant land, therefore, the Cost Approach and the Income
                                   Approach were not developed; however, the Income Approach was
                                   utilized as a test of reasonableness.

Fee Simple Values:

       Sales Comparison Approach                   $350,000
       Reconciled Market Value “As Is”             $350,000


Reporting Type:                            Appraisal Report
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Subject Property Photographs




                            View of Property – Cashua Drive




                         Street View of Property – Cashua Drive
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                           View of Property – Cashua Drive




                           View of Property – Cashua Drive
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                           View of Property – Cashua Drive




                           View of Property – Cashua Drive
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                          View of Property – N. Palmetto Street




                       Street View of Property – N. Palmetto Street
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                         View of Property from Behind McAlister’s




                       View of Property from Behind Tobacco Market
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                       View of Property from Behind Harris Teeter




                       View of Property from Behind Harris Teeter
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Subject Location Map
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Assumptions and Limiting Conditions

This Appraisal Report has been made with the following general assumptions:

1.      No responsibility is assumed for the legal description or for matters including legal or title
        considerations. Title to the property is assumed to be good and marketable unless otherwise stated.

2.      The property is appraised free and clear of any or all liens or encumbrances unless otherwise stated.

3.      Responsible ownership and competent property management are assumed.

4.      The information furnished by others is believed to be reliable; however, no warranty is given for its
        accuracy.

5.      All engineering is assumed to be correct. The plot plans and illustrative material in this report are
        included only to assist the reader in visualizing the property.

6.      It is assumed that there are no hidden or unapparent conditions of the property, subsoil, or structures
        that render it more, or less, valuable. No responsibility is assumed for such conditions or for
        arranging for engineering studies that may be required to discover them.

7.      It is assumed that there is full compliance with all applicable federal, state, and local environmental
        regulations and laws unless noncompliance is stated, defined, and considered in the appraisal report.

8.      It is assumed that all applicable zoning and use regulations and restrictions have been complied with
        unless a non-conformity has been stated, defined, and considered in the appraisal report.

9.      It is assumed that all required licenses, certificates of occupancy, consents, or other legislative or
        administrative authority from any local, state, or national government or private entity or
        organization have been or can be obtained or renewed for any use on which the value estimate
        contained in this report is based.

10.     It is assumed that the utilization of the land and improvements is within the boundaries or property
        lines of the property described and that there is no encroachment or trespass unless noted in the
        report.

This Appraisal Report has been made with the following general limiting conditions:

1.      The distribution, if any, of the total valuation in this report between land and improvements applies
        only under the stated program of utilization. The separate allocations for land and buildings must not
        be used in conjunction with any other appraisal and are invalid if so used.

2.      Possession of this report, or a copy thereof, does not carry with it the right to publication.

3.      The appraiser, by reason of this appraisal, is not required to give further consultation, testimony, or
        be in attendance in court with reference to the property in question unless arrangements have been
        previously made.
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4.         Neither all nor any part of the contents of this report (especially any conclusions as to value, the
           identity of the appraiser, or the firm with which the appraiser is connected) shall be disseminated to
           the public through advertising, public relations, news, sales, or other media without the prior written
           consent and approval of the appraisers.

5.         The appraiser has personally inspected the subject property and finds no obvious evidence of
           structural deficiencies except as stated in this report; however, no responsibility for hidden defects or
           conformity to specific governmental requirements such as fire, building and safety, earthquake, or
           occupancy codes can be assumed without provision of specific professional or governmental
           inspections.

           Appraiser Comment: “The primary reason for inspection of a property is to gather
           information about the characteristics of the property that are relevant to its value.” 1
           While there are other ways to gather such information, in many cases the personal
           observations of the appraiser are the primary source of information regarding the
           property. An inspection conducted by the appraiser(s) is not the equivalent of an
           inspection by an inspection professional (e.g., a structural engineer, a licensed home
           inspector, a Renaissance art expert, and environmental engineer). This statement is made
           for the understanding of the reader.

6.         No termite inspection report was available, and the appraiser assumed the improvements to be free of
           infestation or damage caused by termites or other wood boring insects.

7.         Unless otherwise stated in this report, the existence of hazardous substances, including without
           limitation asbestos, polychlorinated biphenyls, petroleum leakage, or agricultural chemicals which
           may or may not be present on the property or other environmental conditions were not called to the
           attention of nor did the appraiser become aware of such during the appraisers' inspection. The
           appraiser has no knowledge of the existence of such materials on or in the properties unless
           otherwise stated. The appraiser, however, is not qualified to test such substances or conditions. If the
           presence of such substances such as asbestos, urea formaldehyde foam insulation, or other hazardous
           substances or environmental conditions may affect the value of the properties, the value estimated is
           predicated on the assumption that there is no such condition on or in the properties or in such
           proximity thereto that it would cause a loss in value. No responsibility is assumed for any such
           conditions or for any expertise or engineering knowledge required to discover them.

8.         The Americans with Disabilities Act ("ADA") became effective January 26, 1992. A specific
           compliance survey and analysis of this property was not made to determine whether it is in
           conformity with the various detailed requirements of the ADA. It is possible that a compliance
           survey of the property, together with a detailed analysis of the requirements of the ADA, could reveal
           that the property is not in compliance with one or more of the requirements of the Act. If so, this fact
           could have a negative effect upon the value of the properties. Since no direct evidence relating to this
           issue was obtained, the possibility of non-compliance with the requirements of the ADA in
           estimating the value of the properties was not considered.




1    Advisory Opinion 2 (AO-2) USPAP 2014-2015 Edition
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9.      Wetland legislation is ever changing, and interpretations of their whereabouts are beyond the
        appraiser's expertise. If wetlands exist and their impact on the value of the subject properties are not
        discussed in this report, the value estimate for the subject will need to be reconsidered by the
        appraiser and the value conclusions contained herein are not applicable.

10.     It has been noted in this appraisal report that any significant adverse conditions (such as needed
        repairs, depreciation, the presence of hazardous wastes, toxic substances, etc.) discovered during
        the data collection process in performing the appraisal. Unless otherwise stated in this appraisal
        report, there is no knowledge of any hidden or unapparent physical deficiencies or adverse
        conditions of the property (such as, but not limited to, needed repairs, deterioration, the presence
        of hazardous wastes, mold existence, toxic substances, adverse environmental conditions, etc.)
        that would make the property less valuable and it is assumed that there are no such conditions and
        make no guarantees or warranties, expressed or implied. The appraisers will not be responsible
        for any such conditions that do exist or for any engineering or testing that might be required to
        discover whether such conditions exist. Because the appraisers are not experts in the field of
        environmental hazards, this appraisal report must not be considered as an environmental
        assessment of the property. The obtained information, estimates, and opinions furnished by other
        parties and expressed in this appraisal report from reliable public and/or private sources are
        believed to be true and correct.


Extraordinary Assumptions

There are no extraordinary assumptions for this appraisal.

Hypothetical Conditions

The subject property is improved with various structures; however, due to the scope of this
appraisal, per the request of the client, the subject’s improvements were not to be considered in the
valuation of the property.
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Appraisal Development and Reporting Option

Appraisal Report: This is the most detailed and complete reporting option. The length and descriptive detail
in such a report should be based on the scope of work set forth by the appraisal problem which the client
requested. This reporting type replaces two types of reporting (Summary and Self-Contained) that were
replaced in the USPAP 2014–2015 Edition and continued through the current 2020–2021 Edition.

Restricted Appraisal Report: Should contain a brief statement of information significant to the solution of
the appraisal problem. Only the client intends it for use and everyone else is considered an unintended user.
The opinions and conclusions set forth in the report may not be understood properly without additional
information in the appraiser’s work file.

Development Level and Reporting Option Used

This report is intended to be an Appraisal Report.


Appraisal Procedure, Format, and Use Restriction

The Sales Comparison Approach to value is applicable in valuing the subject property based on “As Is”
condition. This is the most reliable method for valuing vacant land, therefore, the Cost Approach and the
Income Approach were not developed; however, the Income Approach was utilized as a test of
reasonableness. This assignment is being reported as an Appraisal Report, which is intended to meet the
minimal requirements of such, as specified under Standards Rule 2.2 of USPAP 2020–2021 Edition
(effective January 1, 2020, and extended through December 31, 2023).

Competency Statement
The Uniform Standards of Professional Appraisal Practice (USPAP) contains a provision relative to the
ability of the appraiser to perform the appraisal assignment in a competent manner. This provision
requires that, prior to accepting an appraisal assignment, the appraiser must thoroughly and properly
identify the appraisal problem and possess the knowledge and experience to adequately and competently
complete the appraisal assignment. In the event the appraiser does not possess adequate background and
knowledge with which to appropriately address the appraisal assignment, he/she may draw upon or
associate with another appraiser or consultant who does possess the necessary background and
experience. In those instances where association with another individual was utilized, the name(s) of the
individual and the extent of the association is identified herein. Therefore, with respect to the preparation
of this report, the provisions of the competency requirement have been adequately met.
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Scope of Work

Scope of work is the amount and type of information researched and the analysis applied in the assignment.
Scope of work includes, but is not limited to, the following:

•     The degree to which the property was inspected or identified;
•     The extent of research into physical or economic factors that could affect the property;
•     The extent of data research; and
•     The type and extent of analysis applied to arrive at opinions or conclusions.

Inspection of Property: The subject property was last personally inspected by Edward F. Hucks, MAI,
SRA on September 9, 2023. The subject photographs presented herein were also taken in August 2023.
Due to the age and condition of the existing improvements, only exterior inspections were made of the
improvements to the parcel.

          Appraiser Comment: “The primary reason for inspection of a property is to gather information
          about the characteristics of the property that are relevant to its value.” 2 While there are other ways
          to gather such information, in many cases the personal observations of the appraiser are the
          primary source of information regarding the property. An inspection conducted by the appraiser(s)
          is not the equivalent of an inspection by an inspection professional (e.g., a structural engineer, a
          licensed home inspector, a Renaissance art expert, and environmental engineer). This statement is
          made for the understanding of the reader.

Research of Market Data: Appropriate market data for utilization in the valuation for the subject was
investigated. Our investigations included research of public records through the use of commercial
sources of data such as printed comparable data services, computerized databases, etc. Search parameters
such as dates of sales, locations, sizes, types of properties and distances from the subject started with
relatively narrow constraints and have been expanded until we retrieved sufficient data to estimate market
value, or until we reasonably exhausted the available pool of data. We viewed the researched sales and, if
deemed appropriate, verified the data with people directly involved in the transactions such as buyer,
seller, or agent. We may have used some data that we were unable to verify but, in our opinion, appeared
to be correct. We also considered any appropriate listings of properties that we found during our data
collection process. We reported on the data that we deemed to be pertinent to the valuation problem.

Research of Easements or Restrictions: Pertinent easements or restrictions on the subject property were
investigated and analyzed. A title report was not available to review; therefore, a visual inspection was
relied upon to identify any readily apparent easements or restrictions.

Analysis of Data: The researched data was analyzed, and a conclusion regarding the market value, as defined
in the report, of the subject property as of the date of value was determined using the appropriate valuation
approaches identified on the previous page.

Compliance with Appraisal Standards: The appraisal report was completed in compliance with the
appraiser’s interpretation of the Uniform Standards of Professional Appraisal Practice as promulgated by
The Appraisal Foundation and the Code of Professional Ethics and Certification Standard of the Appraisal
Institute.



2   Advisory Opinion 2 (AO-2) USPAP 2014-2015 Edition
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Responsibility for Contamination: The appraisers were not responsible for ascertaining the existence of any
toxic waste or other contamination present on or off the site. Any indications of toxic waste or contaminants
that may affect value were reported if they were readily apparent to during investigations. The user of the
report is cautioned that the appraisers are not experts in such matters and may have overlooked contamination
that might have been readily apparent to others.
Preparation of Appraisal Report: We prepared a report, including photographs of the subject property, a
description of the subject neighborhood, the site, and zoning, a highest and best use analysis, a summary of
the most important sales used in our land valuation, reconciliation, and conclusion, as well as other data that
we deemed relevant to the report. Pertinent data and analyses not included in the report are retained in our
files.
Intended Use and Intended User: The intended user of this report is Ross Appel and McCullough, Khan,
Appel Law Firm. This appraisal has been prepared for the sole use for a legal dispute between the owner of
the property and Florence County. No other party should use or rely on the appraisal or any content in this
report for any purpose.
Property Interest Appraised: The interest being appraised is the market value of the fee simple interest in the
subject property based on “as is” condition. As stated previously, the subject property is improved with
various structures; however, due to the age and condition of these improvements and the limited scope of this
appraisal, per the request of the client, the subject’s improvements were not to be considered in the valuation
of the property.

Effective Date: The effective date of this appraisal is August 15, 2023, as it relates to the as is value, which is
also the date the subject property was personally inspected by the appraiser.
Definitions:
Market Value 3
“The most probable price which a property should bring in a competitive and open market under all
conditions requisite to a fair sale, the buyer and sellers, each acting prudently, knowledgeably and
assuming the price is not affected by undue stimulus. Implicit in this definition is the consummation of a
sale as of a specified date and the passing of title from seller to buyer under conditions whereby:
A.        Buyer and seller are typically motivated;
B.        Both parties are well informed or well advised, and acting in what they consider their best interests;
C.        A reasonable time is allowed for exposure in the open market;
D.        Payment is made in terms of cash in U.S. Dollars or in terms of financial arrangements
          comparable thereto; and,
E.        The price represents the normal consideration for the property sold unaffected by special or creative
          financing or sales concessions granted by anyone associated with the sale.”
Fee Simple Estate 4
"Absolute ownership unencumbered by any other interest or estate, subject only to the limitations imposed by
the governmental powers of taxation, eminent domain, police power, and escheat.”

As Is Market Value 5
“The estimate of the market value of real property in its current physical condition, use, and zoning as of
the appraisal date.”
3 As defined by The Federal Register, vol. 55. no. 163, August 22, 1990, pages 34228 and 34229, and found in The Appraisal of Real

Estate, Fourteenth Edition.
4 Appraisal Institute, The Dictionary of Real Estate Appraisal, 6th ed. (Chicago: Appraisal Institute, 2015).
5 Appraisal Institute, The Dictionary of Real Estate Appraisal, 6th ed. (Chicago: Appraisal Institute, 2015).
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Identification of the Subject Property




                                          Florence County qPublic
The subject property is three contiguous parcels totaling 5.83+/- acres on South Cashua Drive and West
Palmetto Street in Florence, South Carolina. The subject property is improved with various structures;
however, due to the scope of this appraisal, per the request of the client, the subject’s improvements were not
to be considered in the valuation of the property. The parcels identified as Florence County TMS 90018-03-
006, 90018-03-007, and 90018-03-008.

History and Ownership of the Subject Property

The Uniform Standards of Professional Appraisal Practice requires a three-year sales history for the
subject property. The subject parcels are currently owned by TALLEVAST WILLIAM D V. There was
an interrelated transfer of the subject parcels on May 20, 2023; however, there has been no market
transaction of the subject parcels in the three years preceding the effective date of this report. The subject
was contracted for sale on February 8, 2020, for a consideration of $1,150,000. The contract was
terminated on July 29, 2022.

Legal Description

The full and complete legal description for the parcel of subject property 90018-03-006 can be found in
Florence County deed book 1051, page 361, and is shown on the following page:
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The full and complete legal description for the parcel of subject property 90018-03-007 can be found in
Florence County deed book A932, page 473, and is shown below:




The full and complete legal description for the parcel of subject property 90018-03-008 can be found in
Florence County deed book 1051, page 361, and is shown below:
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Assessments and Taxes

The total fair market value for the subject property, according to the Florence County assessor, is $534,594.
The total annual real estate taxes for 2022 were $11,605.08. The breakdown between each of the parcels and
the dates on which the taxes were paid can be seen in the table below.

                   Parcel ID    2022 Taxable Value          2022 Taxes       Date Paid
                   90018-03-006      $256,230                $5,369.50        2/3/2023
                   90018-03-007       $87,745                $1,922.21       1/15/2023
                   90018-03-008      $186,619                $4,313.37       3/10/2023
                   Totals            $530,594               $11,605.08
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Regional, County, and Neighborhood Data

The City of Florence is the county seat of Florence County, located in the Pee Dee Region of South
Carolina the junction of I-95 and I-20. Being located at the junction of these two major interstates is the
major encominc driver for the area, making the City of Florence the trade, medical, transportation,
cultural, financial and educational center for the Pee Dee region. According to the Greater Florence
Chamber of Commerce, “Florence County and the Pee Dee Region manufacture pharmaceuticals, ATVs,
state-of-the-art medical equipment, building systems, plastics, food products, industrial mechanized
cutting systems, steel fabricating for large projects, heavy commercial and industrial construction and
much, much more.” Some noteable top employers for Florence County include Honda, Assuarnt Group,
City o florence, Francis Marion University, HopeHealth Inc., McLeod Health, Medical University of SC,
Otis Elvaator Company, and QVC, Inc. The Chamer of Commerce further states that “this growing
infrastructure supports our immense drivers and growing industrial and commercial base. Community
leaders, the Florence Economic Development Partnership and the Greater Florence Chamber of
Commerce strive to make this area a location of choice. Florence County is world class, with one of the
best business climates in the southeast. It has recently been named among America’s top 50 cities for
business relocation and expansion by Expansion Management Magazine. The business climate of our area
has brought more than $1 billion in capital investments in the commercial, industrial, institutional arts
sectors in the past eight years alone.” The most notable of these capital investments include Automotive
Energy Supply Corporation that announced an $810 million dollar plant to “produce a variety of batteries
to support AESC’s partnership with the BMW group” that will span 900 acres and be powered by
renewable resources. AESC broke ground on this project in June of 2023 and will bring 1,170 new jobs to
Florence County. Florence County’s economy is forward moving and expanding with ample opportunities
in employment and education and the longrange forecast for the area is positive.
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The appraised property is located on South Cashua Dirve and West Palmetto Street near the Five Points
intersection in Florence. The Five Points Intersection is the interseciton of W. Palmetto Street, South
Cashua Drive, Cherokee Road, Hoffmeyer Road, and N. Cashua Drive. West Palmetto Street, also known
as I-76, is a east-west traffic route that runs from I-95 through the heart of Florence. The average daily
traffic count of West Palmetto Street at the subject property is 21,528. Build up along West Palmetto
Street is primarily commerical, as it is the major throughoutfare through the city of Florence. South
Cashua Drive is a two lane road, that runs south from the Five Points Intersection, and intersects 2nd Loop
Road in a distance of 1 mile, and ending back at W. Palmetto Street in a distance of 3.7 miles. The
average daily traffic count of S. Cashua Lane at the subject property is 5,988, and 12,505 on S. Cashua
Drive at the intersection of 2nd Loop Road. Build up along South Cashua Drive consists of predominantly
various older single-family residential dwelling from the Five Points Intersection to 2nd Loop Road. To
the west of South Cashua Drive the Country Club Forest residenital neighborhood and to the east of South
Cashua Drive is the highgly desirable Florence County Country Club residential neighborhod. The
subject property is located on the west side of South Cashua Drive. There is limited commerical uses
along South Cashua Drive from the Five Points Intersection to 2nd Loop Road. These commerical uses
include older office professional uses, a dry cleaner, carpet store, and dog grooming salon. At the
intersection ofSouth Cashua Dirve and 2nd Loop Road, there is a CVS, convience store, Walgreens, and
Walmart Neighborhood Market. Heading south on South Cashua Drive after 2nd Loop Road, the road has
recently been widened to a four lane road and build out is predominately commerical uses. Cashua Drive
serves as a popular connecting road from Palmetto Street to 2nd Loop Road and the south and west sides
of the City of Florence that has most of the residential growth.
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Site Data




                                          Florence County qPublic
Size and Shape: The subject property is three contiguous parcels totaling 5.83+/- acres on South Cashua
Drive and West Palmetto Street in Florence, South Carolina. The subject property has 613.37’ of frontage
along South Cashua Drive and 56.82’ of frontage along West Palmetto Street. The subject property’s shape
can be described as irregular.

Easements and Encroachments: No adverse easements or encroachments that would impact the subject
property in a negative manner were obvious or made apparent to the appraiser. Utility easements are
typical. Again, the appraiser is not a surveyor or engineer, so this position is not guaranteed.

Improvements: As of the date of inspection, and seen in the image above, the subject property has
various improvements on site. According to the Florence County Records, these improvements include a
2,892 square foot single-family home that was built in 1950, a 1,603 square foot single family home that
was built in 1953, and a 2,261 square foot retail building that was built in 1940. Furthermore, there is a
billboard located on the subject property that fronts West Palmetto Street (Highway 76). Due to the scope
of this appraisal, per the request of the client, the subject’s improvements were not to be considered in the
valuation of the property.
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Topography: The subject property is generally level to the grade of the surrounding roads, with some
upward sloping into the center of the property. The topography, as well as the existing structures, can be seen
on the graphic below, which was provided by ASI Engineering, Inc. Soils, according to the available United
States Department of Agriculture (USDA), are typical of the area and have supported residential development
in the past. Again, the client is advised that the appraiser is not a surveyor or engineer and makes no
guarantees regarding the suitability of the soil to support development.




Wetlands: The subject property does not appear to have any wetlands on site.
Utilities: It appears the subject property has access to all the utilities typically found in this area including
public water, public sewer, as well as electric, cable TV, telephone, and internet service.
Location and Access: The subject property is located along South Cashua Drive and West Palmetto
Street in Florence, South Carolina. The property has access from both streets. The location of the subject
is further discussed in the Neighborhood Analysis portion of this report. The map below shows the
subject property in relation to the surrounding development, which includes Harris Teeter, Cashua Dry
Cleaners, McAlister’s, Tobacco Market, Clean Eatz, Missy’s Café, and residential uses.
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The subject is located between The Five Points Intersection and Second Loop Road. The map below
shows the subject location in relation to major roadways, such as I-95 and I-20, as well as Downtown
Florence, McLeod Regional Hospital, Florence Regional Airport, and Magnolia Mall.
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Flood Plain: According to the Federal Emergency Management Agency (FEMA) Flood Hazard Maps
#45041C0133E and #45041C0141E dated December 16, 2014, the site appears to be located entirely in a
Zone X, which are “areas determined to be outside the 0.2% annual chance floodplain.”

Zoning: The subject property has recently been rezoned to Single-Family, large lots (R-1) by Florence
County. “Aside from differences in lot sizes and densities, these [residential] districts are intended to
foster, sustain, and protect areas in which the principal use of land is for single-family dwellings and
related support uses.” The minimum allowable lot size for the (R-1) district is 15,000 square feet, with a
minimum lot width of 100’. The setback from the property lines includes a 25’ front setback, 10’ side
setbacks, and 25’ rear setback.
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Highest & Best Use

The theory of highest and best use is one of the fundamentals that affect the value of all real property.
According to the 14th Edition of The Appraisal of Real Estate, highest and best use is defined as "the
reasonably probable and legal use of vacant land or improved property, which is physically possible,
appropriately supported, financially feasible, and that results in the highest value."
To value a property at its highest and best use, it is analyzed on its legal, physical, and economic aspects.
The highest and best use of a property, both as vacant and as improved, must meet four criteria. The
highest and best use must be legally permissible, physically possible, financially feasible, and maximally
productive.

Highest and Best Use-As Vacant
Physically Possible: In determining what physical uses are possible for the subject property, factors
considered included the subject’s location, adjoining and neighboring properties, and other relative physical
characteristics that were discussed under the Description of the Subject Property section earlier in the report.
The subject property is three contiguous parcels totaling 5.83+/- acres in Florence, SC. South Cashua
Drive is a two-lane road that connects W. Palmetto Street to 2nd Loop Road and has an AADT of 5,988 in
front of the subject property. The subject property is in a “transition area” between commercial uses along
W. Palmetto Street and primarily residential uses along South Cashua Drive. The surrounding
development adjacent to the subject property includes Harris Teeter, McAlister’s, Tobacco Market, Clean
Eatz, Missy’s Café, and Cashua Dry Cleaners. The back side of these businesses abuts the subject
property. The subject property is irregularly shaped with 613.37’ of frontage along South Cashua Drive and
56.82’ of frontage along West Palmetto Street. The frontage along West Palmetto Street is wide enough for
an access point to the subject property; however, most of the land area and frontage is along South
Cashua Drive. Overall, the subject is in a transition area between major commercial uses and established
residential neighborhoods. The site does not have adequate frontage along W. Palmetto Street to be
utilized for commercial use; however, the frontage would allow for a secondary access to the site and
could benefit the tract for high density residential uses, which is a typical use for similar properties
located in these “transition areas.” Other than size and configuration, there are few physical constraints in
developing the subject site.

Legally Permissible: The subject property has recently been rezoned Single-Family, large lots (R-1) by
Florence County. “Aside from differences in lot sizes and densities, these [residential] districts are
intended to foster, sustain, and protect areas in which the principal use of land is for single-family
dwellings and related support uses.” The minimum allowable lot size for the (R-1) district is 15,000
square feet, with a minimum lot width of 100’. The setback from the property lines includes a 25’ front
setback, 10’ side setbacks, and 25’ rear setback. Based on these requirements, we have been supplied with
preliminary plans from a local engineering firm that indicate the maximum number of lots that could be
developed on the property is nine lots, which would require install significant infrastructure including streets,
water, and sewer extensions to the site.

Financially Feasible: To developers of the overall subject site, financial feasibility is weighed against
potential profitability and risk associated with the development of the assembled site. Sites similar to the
subject in “transition areas” between commercial and residential uses are typically developed with
“transitional” uses, such as high-density residential uses; however, this is not a legally permissible use of the
site, as single-family residential uses are the only allowable uses. Nonetheless, due to being in this “transition
area” upscale residential homes constructed on the subject site there could be external obsolescence to these
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improvements. This external obsolescence would be derived from the surrounding development of the site.
Developing the site with residential uses would create residential lots that back up the existing surrounding
commercial development. Having residential lots that abut loading docks, dumpster areas, and rear parking
lots of commercial buildings is an undesirable characteristic and could significantly impact the marketability
of the residential lots and the homes built on these lots. However, this is the only legally permissible use.
Therefore, with the assistance of ASI Engineers, Inc., we have studied the potential residential uses of the site
and due to the size, shape, and location of the subject property, there are two “likely” development options for
the subject property, which include:
     1. A “major development” to install infrastructure to maximize the number of allowable lots to nine
         residential lots. This option creates nine residential lots, averaging 23,038 square feet, with four lots
         abutting the surrounding commercial uses.




    2. A minor subdivision to subdivide the subject parcel along its road frontage, to minimize the
       infrastructure costs. This option creates six residential lots, averaging 38,735 square feet, with only
       two of lots abutting the surrounding commercial uses. The two lots abutting the commercial uses are
       the largest lots, measuring at 1.45 acres and 1.85 acres, which provides these lots with significant
       buffer area.
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To determine the feasibility of these two options, the appraiser studied and analyzed estimated costs and
values for each option, as well as discussions with market participants, including engineers, appraisers,
brokers, and developers. The appraiser also studied comparable residential land tracts in the area and their
intended use. Based on this analysis, it is our conclusion that it is not feasible to install significant
infrastructure for the “major subdivision” of nine lots. This is because this development option has the most
cash outlay, unknown timing with development, and maximizes the external obsolescence of the surrounding
development, as four of the nine lots would back up to the commercial development, which would
significantly impact the marketability of these lots. Furthermore, due to current infrastructure costs, holding
costs, and costs of sale to complete this development option, and lot sales prices would have to be priced
above the “typical” contributory value of surrounding residential homes and unsupportable. Therefore, it is
unlikely that a developer would take on such a high-risk development because of the risk vs. reward.

As such, it is our opinion that the development
option of the minor subdivision to subdivide
the subject parcel along its road frontage, to
minimize the infrastructure costs, is a feasible
and likely option. As seen to the right, single
family building permits are near all-time high
for Florence County. This development option
has less cash outlay, less time, due to the
minimal infrastructure to be completed, and is
the best balance of risk vs. reward.
Furthermore, this development option
minimizes the external obsolescence created
by the surrounding development, as only two
residential lots would abut the existing commercial development, compared to four in the 9-lot development
option. Additionally, the two lots abutting the commercial uses are the largest lots, measuring at 1.45 acres
and 1.85 acres, which provides these lots with significant buffer area. This development option appears to be
the most feasible option for local developers, as is how two of comparables sales utilized in the valuation
were also developed by local developers. It is our opinion that this option is the best balance between risk and
reward and is the most likely use of the subject site.
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Maximally Productive: The study of financial feasibility illustrates that a major subdivision of the
subject property, that includes installing significant infrastructure to maximize the number of lots, is not
the maximally productive use of the parcel and that a minor subdivision of the subject parcel along South
Cashua Drive into larger single family lots would likely bring a higher return to the land, making it the
most maximally productive use of the site.

Analysis and Conclusion: Based on the size, shape, location, current zoning, and development patterns
in this area it is our opinion that the highest and best use for the subject property is for low density single
family residential development that minimizes infrastructure expenditures. The most likely buyer for the
subject property would be a local homebuilder or investor/developer.
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Valuation Process

There are three commonly accepted approaches used in valuing real estate: The Cost Approach, the Sales
Comparison Approach, and the Income Approach. The sixth edition of The Dictionary of Real Estate
Appraisal describes these methods as follows:

Cost Approach
A set of procedures through which a value indication is derived for the fee simple interest in a property by
estimating the current cost to construct a reproduction of, or replacement for, the existing structure; deducting
accrued depreciation from the reproduction or replacement cost; and adding the estimated land value plus an
entrepreneurial profit. Adjustments may then be made to the indicated fee simple value of the subject
property to reflect the value of the property interest being appraised.

Sales Comparison Approach
A set of procedures in which a value indication is derived by comparing the property being appraised to
similar properties that have been sold recently, applying appropriate units of comparison, and making
adjustments to the sale process of the comparables based on the elements of comparison. The sales
comparison approach may be used to value improved properties, vacant land, or land being considered as
though vacant; it is the most common and preferred method of land valuation when comparable sales data are
available.

Income Approach
A set of procedures through which an appraiser derives a value indication for an income-producing property
by converting its anticipated benefits (cash flows and reversion) into property value. This conversion can be
accomplished in two ways. One year’s income expectancy can be capitalized at a market-derived
capitalization rate or at a capitalization rate that reflects a specified income pattern, return on investment, and
change in the value of the investment. Alternatively, the annual cash flows for the holding period and the
reversion can be discounted at a specified yield rate.

Valuation Conclusion
Consideration was given to all three techniques, and it was determined that only the Sales Comparison
Approach to value are applicable in valuing the subject property. The Sales Comparison Approach to value is
applicable in valuing the subject property based on “As Is” condition. This is the most reliable method for
valuing vacant land, therefore, the Cost Approach and the Income Approach were not developed; however,
the Income Approach was utilized as a test of reasonableness.
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Sales Comparison Approach
Technique of the Approach
The Sales Comparison Approach will be used to estimate the “as is” value for the subject property
through the comparison to sales of similar entitled residential land tracts. This approach is based on the
principle of substitution and assumes that no prudent purchaser will pay more for a particular property
than a similar substitute property. When using the Sales Comparison Approach, a sufficient number of
sales are needed in order to establish a market pattern. When this pattern is established, the subject
property can be analyzed to determine how the subject relates to this pattern. The typically the most
reliable unit of comparison for land tracts is the “sales price per acre.”

Data Search
To locate sales of entitled residential land tracts we researched private information sources such as the
local MLS, CoStar, the public records of Florence County, and our own appraisal files. The sales used are
detailed on the following pages and summarized in the market grid. A location map and an explanation
of the adjustments is also provided.
Sales Summary
 Sale #   Location                           Sales Date    Size (Acres)   Adjusted Sale Price    $/Acre
    1     Left Bank Drive, Florence, SC        Sep-22       7.49 Acres         $385,000          $51,436
    2     Clark Branch Road, Florence, SC     May-22        2.31 Acres         $215,000          $93,275
   3      S. Cashua Drive, Florence, SC       Aug-21        4.48 Acres         $350,000          $78,090
   4      2nd Loop Road, Florence, SC          Sep-21       2.90 Acres         $275,000          $94,828




                                            Comparables Location Map
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                                 Sale Comparable 1




Location:                               Left Bank Drive, Florence, SC
TMS:                                    00521-07-011
Grantor:                                Claussen Developers, LLC
Grantee:                                Dowling Investments, LLC
Property rights:                        Fee simple
Sale price:                             $385,000
Sale date:                              September 19, 2022
Deed book/page:                         1013/1699
Zoning:                                 R-1
Size (Gross Acres):                     7.485 +/- Acres
Unit price:                             $51,426 per acre

Summary:                        This sale was of 7.485 acres of land that had 2,453’ +/- of
                                frontage along Left Bank Road and South Peninsula Road in
                                Florence, SC. This parcel has since been subdivided into 18 SF
                                lots.
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                                 Sale Comparable 2




Location:                               Clark Branch Road, Florence, SC
TMS:                                    00098-01-002
Grantor:                                Melinda R. Fowler Trustee
Grantee:                                KDK Development, LLC
Property rights:                        Fee simple
Adjusted Sale price:                    $215,000
Sale date:                              May 10, 2022
Deed book/page:                         992/1025
Zoning:                                 NC-6.1 (Single-family detached with 6,000 sf min lot
                                        area and 60 ft min lot width)
Size (Eff. Acres):                      2.31 +/- Acres
Effective Unit price:                   $93,275 per acre

Summary:                        This sale was of 3.005 acres of land on Clark Branch Road in
                                Florence, SC. The transaction price was $450,000; however, this
                                included a 1,668 SF house. This existing house was subdivided
                                into a 0.70-acre parcel and sold for $235,000 on January 26,
                                2023. The remaining 2.31 acres is being developed into single
                                family residential lots. As such, the effective sales price for the
                                land is $215,000 and the effective size is 2.31 acres. The
                                remaining 2.31+/- acres has 760’ +/- of frontage along Clark
                                Branch Road and is to be subdivided into 12 SF lots. The
                                purchaser of the land has developed and sold 3 of the planned 12
                                lots, on June 9, 2023, to a homebuilder for $135,000, or $45,000
                                per lot. The builder is expected to be building 2,000+/-SF homes
                                to be sold for around $175 PSF, or $350,000 for the home lot
                                packages.
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                                 Sale Comparable 3




Location:                             South Cashua Drive, Florence, SC
TMS:                                  00101-01-758
Grantor:                              Houck Family Trust
Grantee:                              Odell, Barnett Edward
Property rights:                      Fee simple
Sale price:                           $325,000
Sale date:                            August 03, 2021
Deed book/page:                       952/1678
Zoning:                               Unzoned
Size (Gross Acres):                   4.482 +/- Acres
Unit price:                           $78,090 per acre

Summary:                              This sale was of 4.482 acres of land on the corner of
                                      South Knollwood Road and South Cashua Drive in
                                      Florence, SC. The tract had 1,270’ of road frontage and
                                      was purchased by the adjoining landowner for
                                      assemblage purposes.
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                                Sale Comparable 4




Location:                            2nd Loop Road, Florence, SC
TMS:                                 90040-08-001+
Grantor:                             Anne D. Davis Estate
Grantee:                             South Florence Developers,
Property rights:                     Fee simple
Sale price:                          $275,000
Sale date:                           September 16, 2021
Deed book/page:                      948/1506
Zoning:                              NC-15 (Single-Family Detached with 15,000 sf. min lot
                                     area and 100 ft min lot width)
                                     CR (Commercial Re-use)
Size (Gross Acres):                  2.90 +/- Acres
Unit price:                          $94,828 per acre

Summary:                             This sale was of 2.90 acres of land on 2nd Loop Road in
                                     Florence, SC. The tract had existing improvement on site
                                     at the time of the sale that had minimal if any
                                     contributory value to the site for redevelopment. The
                                     property has 190’ +/- of road frontage. 0.99 acres of the
                                     parcel that fronts 2nd Loop Road is zoned commercial,
                                     while the remaining backland is zoned for residential
                                     uses.
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                                                            Market Grid - Vacant Land Tracts
                                                                5.83 +/- Acres - S. Cashua Drive, Florence, SC




                                                                   Subject               Sale 1                Sale 2                        Sale 3              Sale 4
                         Street                             S. Cashua Drive    Left Bank Drive      Clark Branch Rd.                S. Cashua Drive     2nd Loop Road
                         City                                      Florence            Florence              Florence                      Florence            Florence
                         PIN                                 90018-03-007       00521-07-011          00098-01-002                   00101-01-758        90040-08-001
                         Current/Planned Use                     Residential        Residential            Residential                 Vacant Land         Vacant Land
Property Elements




                         Price                                                       $385,000               $450,000                      $350,000            $275,000
                         Adjustments                                                         $0            -$235,000                              $0                 $0
                         Adjusted Price                                              $385,000               $215,000                      $350,000            $275,000
                         Date                                                           Sep-22               May-22                         Aug-21              Sep-21
                         Deed Book/Page                                             1013/1699               992/1025                      952/1678            948/1506
                         Gross Acres                           5.83 Acres          7.49 Acres             2.31 Acres                    4.48 Acres          2.90 Acres
                         Development Front Footage                670' +/-           2,453' +/-              760' +/-                     1,270' +/-           190' +/-
                         Front Footage/Acre                  115 F.F./Acre       328 F.F./Acre         330 F.F./Acre                  283 F.F./Acre        66 F.F./Acre
                         Zoning                                        R-1                  R-1              NC-6.1                        Unzoned        NC-15 & CR
                         Sale Price/Acre                                              $51,436               $93,275                        $78,090            $94,828
                         Property Rights                        Fee Simple          Fee Simple            Fee Simple                    Fee Simple          Fee Simple
Transactional Elements




                          Adjustment                                                        0%                    0%                            0%                  0%
                         Conditions of Sale                   Arm's Length        Arm's Length          Arm's Length                   Arm's Length       Arm's Length
                          Adjustment                                                        0%                    0%                            0%                  0%
                         After Sale Expenditures                      None                None                  None                          None                None
                          Adjustment                                                        0%                    0%                             0%                 0%
                         Market Conditions                            Jul-23            Sep-22               May-22                         Aug-21              Sep-21
                          Adjustment                                                        0%                    0%                             0%                 0%
                         Adjusted Price/Acre                                          $51,436               $93,275                        $78,090            $94,828
                         Location                           S. Cashua Drive    Left Bank Drive      Clark Branch Rd.                S. Cashua Drive     2nd Loop Road
                                               Adjustment                                   0%                    0%                             0%                 0%
Adjustments




                         Size                                   5.83 Acres          7.49 Acres            2.31 Acres                    4.48 Acres          2.90 Acres
                                               Adjustment                                   0%                    0%                             0%                 0%
                         Shape/Configuration                 115 F.F./Acre       328 F.F./Acre         330 F.F./Acre                  283 F.F./Acre        66 F.F./Acre
                                               Adjustment                                 -30%                  -30%                          -25%                 10%
                         Zoning                                         R-1                 R-1              NC-6.1                        Unzoned        NC-15 & CR
                                               Adjustment                                   0%                  -10%                             0%               -30%
                         Net Adjustments                                                  -30%                  -40%                          -25%                -20%
                         Indicated Value/Acre                                         $36,005               $55,965                        $58,568            $75,862
                                                                                Value Indication
                         Low Range Per Acre                 $36,005                                                      Indicated Value Per Acre       $60,000
                         Mean Per Acre                      $56,600                                                      Indicated Value               $349,800
                         High Range Per Acre                $75,862                                                      Rounded                       $350,000

Explanation of Adjustments

Property Rights: All the comparable sales were sold on a fee simple basis. No property rights adjustments
were needed.

Financing and Condition of Sale: All the comparable sales conveyed in terms equivalent to cash to the seller.
No financing and/or conditions of sale adjustments were needed.

After Sale Expenditures: No after-sale expenditures adjustments were needed.

Market Conditions: “Market conditions” is an adjustment required when analyzing the sales dates of the
comparables to the date of the subject appraisal. All the comparable sales are within the past 24 months, so no
adjustments are applied.
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Location: No adjustments were applied for location.

Size: It is usually common for larger properties to sell for less, than smaller properties, and vice versa, due to
economies of scale. No adjustments are applied, as the comparable sales are within a range which would not
materially affect the sales price.

Shape/Configuration: As discussed in the highest and best use and supported by comparable sales, the most
likely purchaser is a local investor/developer to subdivide the parcel along the roadway, for single family lots.
The subject has a development front footage per acre ratio of 115:1. A higher ratio of development front
footage per acre is favorable, as it lowers development cost and risk, allowing maximum utilization of a site.
All sales were adjusted accordingly.

Zoning: The subject property is zoned R-1, which requires 15,000 SF minimum lot area and 100’ minimum
lot width. Sale comparable two is adjusted downward for superior zoning, as NC-6.1 has 6,000 SF minimum
lot area and 60’ minimum lot width, allowing for higher density. Sale comparable four is adjusted downward
as 0.99 acres of the 2.90 acres that fronts 2nd Loop Road is zoned commercial, while the remaining backland
is zoned for residential uses.

Analysis: The final adjusted unit prices range from $36,005 to $75,862 per acre and produce a mean of
$56,600. Based on this analysis and the size, location, and configuration of the subject property, we
conclude that the subject property value is well-supported at $60,000 per acre. As such:

                            Indicated Value Per Acre               $60,000
                            Indicated Value                        $349,800
                            Rounded                               $350,000

Based on the foregoing analysis, it is our conclusion that the market value of the fee simple interest in the
subject property based on “As Is” condition as of August 15, 2023, via the Sales Comparison Approach is
estimated to be:
                                 Three Hundred Fifty Thousand Dollars
                                             ($350,000)
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Reconciliation and Final Conclusion

We used the Sales Comparison Approach to estimate the current market value of the subject property. The
sales in the grid are the most similar, verifiable sales available and bracket the subject in all line items. This is
typically the most reliable method for valuing vacant land, therefore, the Cost Approach and the Income
Approach were not developed; however, the Income Approach was utilized as a test of reasonableness and
further supports the indicated value of this report.

After gathering and analyzing all the pertinent facts and data, and applying the methods and techniques
prescribed by the Appraisal Institute, it is our conclusion that the market value of the fee simple interest
in the subject property, based on “as is” condition as of August 15, 2023, is:
                                 Three Hundred Fifty Thousand Dollars
                                             ($350,000)

Marketing Time and Exposure Time
Upon review of the overall real estate market in Florence County generally and the subject neighborhood
specifically, and considering how the subject property is positioned therein, it is our opinion that if available
and properly exposed, the subject property would sell at or very near the appraised value within twelve (12)
months. The typical buyer for the subject property would be a local homebuilder or investor/developer.
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Appraiser Qualifications

                      REAL ESTATE QUALIFICATIONS AND EDUCATION
                              EDWARD F. HUCKS, MAI, SRA

                              APPRAISAL CERTIFICATION:
Certified General Real Estate Appraiser - #A394 (North Carolina)
Certified General Real Estate Appraiser - #CG138 (South Carolina)

PROFESSIONAL EDUCATION:
Graduate, Francis Marion College, Florence, S. C. - 1981
   B. S. in Business Administration

APPRAISAL COURSES COMPLETED: Appraisal Institute
Courses:
8-1: Appraisal Principles - l983
8-2: Residential Valuation - l982
SPP: Standards of Professional Practice - l983
1BA: Capitalization - Theory & Techniques A - 1988
1BB: Capitalization - Theory & Techniques B - 1988
2-1: Case Studies in R. E. Valuation - 1989
1A2: Basic Valuation Procedures - 1988
2-2: Report Writing and Valuation Analysis - 1989
SPP: Standards of Professional Practice - Parts A & B - 1996
Standards of Professional Practice - Part C - 2000
Business Practices and Ethics – Course 420 – 2006, 2008 & 2013
The National USPAP Update, Course 400 – 2006, 2008 , 2010, 2012 & 2014
Appraisal Curriculum Overview (2-Day General) – 2011
Fundamentals of Separating Real Property, Personal Property & Valuing Intangible Assets – 2012

Seminars:
Review Appraisal Seminar - 1986
Computer Assisted Sales Comparison - 1986
Subdivision Analysis - 1987
Capitalization Overview - 1987
Rates, Ratios & Reasonableness - 1989
Valuation of Lease Interests - 1989
Discounted Cash Flow Analysis - 1990
Environmental Considerations for Real Property - 1990
Rate Extraction - 1990
Standards of Professional Practice Update - 1990
Easement Valuation – 1990
Real Estate Risk Analysis - 1991
Appraising Troubled Properties - 1991
Highest and Best Use - Non-Residential Properties - 1992
Hotel/Motel Valuation - 1992
Valuation Considerations: Appraising Nonprofit Properties - 1992
Under The Microscope: The Cost Approach - 1992
Power Line Easements & Electro Magnetic Fields-Effect on People & Value - 1993
Appraisal Regulations of the Federal Banking Agencies From the Lenders' Perspective - 1994
Fair Lending and the Appraiser - 1996
The Internet and Appraising - 1996
The High-Tech Appraisal Office - 1996
Special Purpose Properties: The Challenges of Real Estate Appraising in Limited Markets - 1996
Appraising High-Value and Historic Homes - 1998
New Technologies for the Real Estate Appraiser - 1998
USPAP in Cross Examination - 1999
Cost Approach Applications - 2000
Valuation of Detrimental Conditions in Real Estate - 2000
Keeping Up-An Updated and Review for South Carolina Appraisers - 2000
Supporting Sales Comparison Grid Adjustments for Residential Properties - 2001
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Seminars (continued):
State of the Valuation Profession - 2001
Appraisal Review - General – 2001
Eminent Domain and Condemnation Appraising - 2001
Appraisers and the Gramm-Leach-Bliley Act – 2002
Introduction to Appraising and Analysis of Proposed Subdivisions and Condominiums – 2002
Analyzing Distressed Real Estate – 2002
Supporting Capitalization Rates – 2003
Establishing the Worth of an Appraisal to Your Clients and the Community – 2003
Appraisal Consulting: A Solutions Approach for Professionals – 2003
Scope of Work – 2004
National USPAP Update Equivalent - 2005
How to Increase Profits Using Your Appraisal Skill - 2005
What Clients Would Like Their Appraisers to Know – 2006
Loss Prevention – 2006
Litigation Skills for the Appraiser: An Overview – 2006
Subdivision Valuation: A Comprehensive Guide to Valuing Improved Subdivisions – 2006
Inverse Condemnation - 2007
New Technologies for the Real Estate Appraiser: Cool Tools - 2007
Analytics with the Site to do Business - 2007
Introduction to Valuation for Financial Reporting - 2009
Fannie Mae 2009 Selling Guide Updates – 2009
Valuing High Performance Residential Properties - 2009
Managing and Procuring Commercial Appraisal Reports - 2009
Spotlight on USPAP: Agreement for Services – 2010
A Debate on the Allocation of Hotel Total Assets - 2010
Appraising Distressed Commercial Real Estate – 2010
Appraisal Review: Income Capitalization Approach - 2010
The Appraiser and the Site to Do Business: Location, Timing and Demographics - 2010
Land, Condos & Subdivisions – Solutions to Hard Value Assets – 2010
Commercial Appraisal Engagement and Review – 2010
Understanding and Testing DCF Valuation Models – Pt. 1 – 2010
The Lending World in Crisis: What Clients Need Their Appraisers to Know – 2011
New Interagency Appraisal and Evaluation Guidelines: A Primer for Commercial Lenders and Appraisers – 2011
Advanced Spreadsheet Modeling for Valuation Applications – 2011
Appraising the Appraisal: Appraisal Review General – 2012
Real Estate Finance, Value, and Investment Performance – 2012
Marketability Studies: Advanced Considerations and Applications – 2013
Marketability Studies: The Six Step Process and Basic Applications – 2014
Liability Issues for Appraisers Performing Litigation and Other Non-Lending Work: Staying Out of the Courtroom Unless You’re Being Paid to be There – 2014
Forest Valuation for Non-Foresters – 2014
Review of Court Decisions on Valuations – Lessons Learned – 2014
The Discounted Cash Flow Model: Concepts, Issues, and Applications – 2015
The 50% FEMA Rule – 2015
Improving Appraisal Reports Used for Financing Institutions - Strategies from Reviewers – 2015
Evaluating the Evaluation - 2015
Analyzing Tenant Credit Risk and Commercial Lease Analysis – 2016
2016-17 USPAP Update – 2016
Spotlight on USPAP: Confidentiality – 2017
Spotlight on USPAP: Reappraising, Readdressing, Reassigning – 2017
Spotlight on USPAP: Appraisal Review – 2017
Hot Topics and Myths in Appraiser Liability – 2017
Parking and its Impact on Value on South Carolina Properties – 2017
Another View of the Tough One: Mixed Use Properties – 2018
Advancing the Appraisal Profession – 2018
7-Hour USPAP Update Course – 2018
State of South Carolina Economic Summit – 2018
Examining Property Rights and Implications on Valuation – 2018
Fundamentals of Commercial Real Estate for Appraisers-2019
Artificial Intelligence, AVMs, and Blockchain: Implications for Valuation –2019
What’s Up in Technology for Real Estate Appraisers –2020
State of South Carolina Economic Summit – 2020
7- Hour USPAP 2020-2021 Update Course – 2020
7- Hour USPAP 2022-2023 Update Course – 2022
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Seminars (continued):
Impact of Short-Term Rentals for Real Estate Appraisers – 2023
15 Takeaways from Colleagues’ Legal Misfortunes – 2023
State of SC Economic Summit-Part 1 – 2023
Current Issues and Misconceptions in Appraisal – 2023
CLE International - Eminent Domain Conference – 2003 & 2005
Fortune Academy of Real Estate – CE004035: Core Update – 2005; Top Ten Ways to be Disciplined - 2010
The Center for American and International Law (Institute for Local Government Studies) – Planning, Zoning and Eminent Domain – 2003
American Society of Real Estate Appraisers - Income Producing Properties Seminar - l985; "R-41-C" Seminar - l987;
BV201: Introduction to Business Valuation, Part 1 – 2001
American Society of Farm Managers and Rural Appraisers -
Advanced Rural Appraisal - l981; Report Writing - l984: Eminent Domain/Condemnation – l986
The Whitmer Company - Comprehensive Exam Workshop – 1991; South Carolina Home Builder's Exam Preparation Course

PROFESSIONAL EXPERIENCE:
• Licensed Real Estate Broker and Appraiser in South Carolina - since l980
• Partner in Real Estate Brokerage Firm - 1981 - l984
• 30± years’ experience in sales and appraising all types of properties including commercial, single family, multi-family,
condos, office buildings, restaurants, mobile home parks, golf course developments, manufacturing facilities, hotels, motels,
subdivisions, farms and other special purpose properties.
• Vice-President/Branch Manager - Bay State Appraisal Corporation - Myrtle Beach, S. C. - 1986 - 1991
• President - E. F. Hucks & Associates, Inc. - Myrtle Beach, S. C.

PROFESSIONAL ORGANIZATIONS:
South Carolina Real Estate Appraisers Board – 2001-2004
Greater Horry County Board of Realtors
South Carolina Association of Realtors
National Association of Realtors
SC Chapter 47 - Appraisal Institute
         Candidates Guidance Chairman - SRA's - 1991
         Board of Directors - 1991-1992
         Regional Representative - 1993-1994

SERVICES OFFERED:
• Independent fee appraisals and review appraisal services
• Consulting and counseling
• Testimony as expert witness in family courts of Lee and Horry Counties plus testimony in Horry County Master in Equity
Court and Federal Bankruptcy Court - Columbia, SC

PROPERTIES APPRAISED:
Apartment Complexes                                             Golf Courses                               Assisted Living Facilities
Marina Facilities                                               Churches and Funeral Homes                 Banks
Motels                                                          Condominium Projects                       Convenience Stores
Office Complexes                                                Farms and Timberlands                      Mini Warehouses
Restaurants                                                     Retail & Shopping Centers                  Mobile Home Parks
Warehouse and Industrial Properties                             Residential Subdivisions
Miniature Golf Courses and Amusement Parks                      Health Clubs

APPRAISAL CLIENTS SERVED:
US Army Corps of Engineers
Horry County
Georgetown County
Santee Cooper
General Services Administration (GSA)
SC Coastal Council
SC Dept. of Highways & Public Transportation
Municipalities-Conway, Surfside Beach, Bishopville & Lee Counties
Resolution Trust Corporation
Various Banks, Savings & Loans, and other Thrifts throughout South Carolina and other parts of the U.S.
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ADDRESSES:
E. F. HUCKS & ASSOCIATES, INC.
Inlet Crossing (Main)
3320 S. Hwy. 17
Murrells Inlet, SC 29576

Founders Centre
2411 N. Oak Street, Suite 201
Myrtle Beach, S. C. 29577

Telephone:         (843) 443-3159
Fax:               (843) 448-1925
website:           efhucks.com
email:             efhucks@efhucksinc.com
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                     REAL ESTATE QUALIFICATIONS AND EDUCATION
                              BENJAMIN J. WOOLCOCK

APPRAISAL CERTIFICATION:
Apprentice Real Estate Appraiser - #8292 (South Carolina)

PROFESSIONAL EDUCATION:
Graduate, Coastal Carolina University, Conway, S.C. - 2021
   B. S. in Finance (Concentration in Banking & Minor in Commercial & Investment Real Estate)


PROFESSIONAL TOOLS EXPERIENCE:
Microsoft Office: Word, Excel, PowerPoint
Trimble Sketchup

APPRAISAL COURSES COMPLETED:
December -2021   Supervisory Appraiser/Trainee Appraiser Course                        The Appraisal Institute
November -2021   15-Hour Equivalent USPAP Course                                       The Appraisal Institute
November -2021   Basic Appraisal Procedures                                            The Appraisal Institute
November -2021   Basic Appraisal Principles                                            The Appraisal Institute
June – 2022      Subdivision Valuation                                                 The Appraisal Institute
June – 2022      2022-2023 7-Hour USPAP Update Course                                  The Appraisal Institute
July – 2022      General Appraiser Income Approach Part 1                              The Appraisal Institute

PROFESSIONAL EXPERIENCE:

07/2021-Current Apprentice Appraiser – EF Hucks and Associates

        Hired in July 2021 as an assistant; acquired apprentice license in December 2021

        Apprentice Appraiser – aspects of commercial real estate appraising including property inspection,
        obtaining data from the courthouse and other governmental agencies, locating comparative sales/income or
        lease data, analyzing subject and relative data obtained, and writing the narrative report.

        TYPES OF PROPERTY APPRAISED:
           • Office – Medical and Professional Office
           • Industrial – Flex
           • Land; Commercial & Residential
           • Mini-Storage Complexes
           • Mobile Home Parks
           • Single Family Residential Homes
           • Miniature Golf Courses
           • Retail Buildings
           • Restaurants
           • Convenience Stores
           • Boat Slips
             •   Plantations
             •   Residential Subdivisions
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Glossary of Terms and Definitions
The following definitions of pertinent terms are taken from The Dictionary of Real Estate Appraisal, Sixth Edition
(2015), published by the Appraisal Institute, Chicago, IL, as well as other sources.

ABSORPTION
1. Broadly, the process whereby vacant space in a property, a group of properties, or a market becomes occupied,
either by leasing or by sales to owner- users.
2. In subdivision analysis, the process whereby lots or units in a subdivision are sold off.
3. In market analysis, short-term capture.

ABSORPTION PERIOD
The actual or expected period required from the time a property, group of properties, or commodity is initially
offered for lease, purchase, or use by its eventual users until all portions have been sold or stabilized occupancy has
been achieved.

ABSORPTION RATE
1. Broadly, the rate at which vacant space in a property or group of properties for sale or lease has been or is
expected to be successfully sold or leased over a specified period of time. See also capture rate.
2. In subdivision analysis, the rate of sales of lots or units in a subdivision.

ACCRUED DEPRECIATION
  1. In appraisal, a loss in property value from any cause; the difference between the reproduction or
      replacement cost of an improvement on the effective date of the appraisal and the market value of the
      improvement on the same date.
   2. In regard to improvements, depreciation encompasses both deterioration and obsolescence.
   3. In accounting, an allocation of the original cost of an asset, amortizing the cost over the asset’s life;
      calculated using a variety of standard techniques.

AS IS MARKET VALUE
The value of a specific ownership rights to an identified parcel of real estate as of the effective date of the appraisal.
It relates to what physically exists and is legally permissible and excludes all assumptions concerning hypothetical
market conditions or possible rezoning.

BAND OF INVESTMENT ANALYSIS
A technique in which the capitalization rates attributable to components of capital investment are weighted and
combined to derive a weighted average rate attributable to the total investment.

BULK VALUE
The value of multiple units, subdivided plots, or properties in a portfolio as though sold together in a single
transaction.

CAPTURE RATE
The percentage of total market demand a specific property or group of properties is expected to capture, which is
derived by comparing the competitive attributes of the specific property to the attributes of all the competitive
properties in the area; also called market share.

CASH EQUIVALENCY ANALYSIS
An analytical process in which the sale price of a transaction with nonmarket financing or financing with unusual
conditions or incentives is converted into a price expressed in terms of cash or its equivalent.
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DEVELOPER’S FEE
Typically, a payment by a property owner to a third party for overseeing the development of a project from
inception to completion, included among the direct and indirect costs of development. Sometimes, the term is used
to describe the time, energy, and experience a developer invests in a project as well as a reward for the risk
undertaken.

DEVELOPER’S PROFIT
The profit earned by the developer of a real estate project.

DEVELOPMENT
The transformation of formerly raw land into improved property through the application of labor, capital, and
entrepreneurship. Development may also include the marketing of the real estate product.

DEVELOPMENT COST
The cost to create a property, including land costs, and bring it to an efficient operating state, as distinguished from
the cost to construct the improvements.

ELLWOOD FORMULA
A yield capitalization method that provides a formulaic solution for developing a capitalization rate for various
combinations of equity yields and mortgage terms. The formula is applicable only to properties with stable or
stabilized income streams, or properties with income streams expected to change according to the J- or K-factor
pattern.

ENTITLEMENT
In the context of ownership, use, or development of real estate, governmental approval for annexation, zoning,
utility extensions, number of lots, total floor area, construction permits, and occupancy or use permits.

ENTREPRENEUR
One who innovates or assumes the risks of a business or enterprise in exchange for possible gains; a promoter who
initiates development.

ENTREPRENEURIAL INCENTIVE
The amount an entrepreneur expects to receive for his or her contribution to a project. Entrepreneurial incentive may
be distinguished from entrepreneurial profit (often called developer’s profit) in that it is the expectation of future
profit as opposed to the profit actually earned on a development or improvement. The amount of entrepreneurial
incentive required for a project represents the economic reward sufficient to motivate an entrepreneur to accept the
risk of the project and to invest the time and money necessary in seeing the project through to completion.

ENTREPRENEURIAL PROFIT
1. A market-derived figure that represents the amount an entrepreneur receives for his or her contribution to a
project and risk; the difference between the total cost of a property (cost of development) and its market value
(property value after completion), which represents the entrepreneur’s compensation for the risk and expertise
associated with development. An entrepreneur is motivated by the prospect of future value enhancement (i.e., the
entrepreneurial incentive). An entrepreneur who successfully creates value through new development, expansion,
renovation, or an innovative change of use is rewarded by entrepreneurial profit. Entrepreneurs may also fail and
suffer losses.
2. In economics, the actual return on successful management practices, often identified with coordination, the fourth
factor of production following land, labor, and capital; also called entrepreneurial return or entrepreneurial
reward.
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EXPOSURE TIME
The estimated length of time the property being appraised would have been offered on the market prior to the
hypothetical consummation of a sale at the market value on the effective date of the appraisal. Exposure time is
presumed to precede the effective date of the appraisal.
The reasonable exposure period is a function of price, time and use. It is not an isolated opinion of time alone.
Exposure time is different for various types of property and under various market conditions. It is a retrospective
opinion based on an analysis of past events, assuming a competitive and open market. It assumes not only adequate,
sufficient and reasonable time, but adequate, sufficient and a reasonable marketing effort. Exposure time and
conclusion of value are therefore interrelated.

EXTRAORDINARY ASSUMPTIONS
An assumption, directly related to a specific assignment, as of the effective date of the assignment results, which, if
found to be false, could alter the appraiser’s opinions or conclusions. Extraordinary assumptions presume as fact
otherwise uncertain information about physical, legal, or economic characteristics of the subject property; or about
conditions external to the property, such as market conditions or trends; or about the integrity of data used in an
analysis.

FEE SIMPLE ESTATE
Absolute ownership unencumbered by any other interest or estate, subject only to the limitations imposed by the
governmental powers of taxation, eminent domain, police power, and escheat.

GOING CONCERN
An established and operating business having an indefinite future life.

GROSS PROCEEDS
In subdivision discounted cash flow analysis, the gross receipts generated from lot or unit sales over the absorption
period. This can consider income from ancillary sources and is representative of total income generated from unit or
lot sales over time.

GROSS SELLOUT VALUE
The sum of the separate and distinct market value opinions for each of the units in a condominium, subdivision
development, or portfolio of properties, as of the date of valuation. The aggregate of retail values does not represent
the value of all the units as though sold together in a single transaction; it is simply the total of the individual market
value conclusions.

HOLDING AND SALES COSTS
Costs associated with a holding period needed to achieve permitting, project approvals, or the absorption of unit
inventory over time. Include items such as real estate taxes, insurance, broker’s commissions, administrative costs,
and marketing and promotional expenses as well as other expenses depending upon the individual development
and/or property.

HYPOTHETICAL CONDITIONS
A condition, directly related to a specific assignment, which is contrary to what is known by the appraiser to exist on
the effective date of the assignment results but is used for the purpose of analysis. Hypothetical conditions are
contrary to known facts about physical, legal, or economic characteristics of the subject property; or about
conditions external to the property, such as market conditions or trends; or about the integrity of data used in an
analysis.
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INSURABLE REPLACEMENT COST
1. The estimated cost, at current prices as of the effective date of valuation, of a substitute for the building being
   valued, using modern materials and current standards, design, and layout for insurance coverage purposes
   guaranteeing that damaged property is replaced with new property (i.e., depreciation is not deducted).
2. Value Used by insurance companies as the basis for insurance. Often considered to be replacement or
   reproduction cost plus allowances for debris removal or demolition less deterioration and non-insurable items.
   Sometimes cash value or market value, but often entirely a cost concept. (Marshall & Swift LP)

LEASED FEE INTEREST
The ownership interest held by the lessor, which includes the right to receive the contract rent specified in the lease
plus the reversionary right when the lease expires.

LEASEHOLD INTEREST
The right held by the lessee to use and occupy real estate for a stated term and under the conditions specified in the
lease.

LINE-ITEM PROFIT
In subdivision valuation analysis, a deduction for profit as an expense in the discounted cash flow analysis, a
deduction for profit as an expense in the discounted cash flow analysis over the absorption period. Line-item profit
is estimated in conjunction with the selection of the discount rate used to calculate the present value of the net
proceeds.

LIQUIDATION VALUE
The most probable price that a specified interest in property should bring under the following conditions:
1. Consummation of a sale within a short time period.
2. The property is subjected to market conditions prevailing as of the date of valuation.
3. Both the buyer and seller are acting prudently and knowledgeably.
4. The seller is under extreme compulsion to sell.
5. The buyer is typically motivated.
6. Both parties are acting in what they consider to be their best interests.
7. A normal marketing effort is not possible due to the brief exposure time.
8. Payment will be made in cash in US dollars (or the local currency) or in terms of financial arrangements
comparable thereto.
9. The price represents the normal consideration for the property sold, unaffected by special or creative financing or
sales concessions granted by anyone associated with the sale.

MARKET RENT
The most probable rent that a property should bring in a competitive and open market reflecting the conditions and
restrictions of a specified lease agreement, including the rental adjustment and revaluation, permitted uses, use
restrictions, expense obligations, term, concessions, renewal and purchase options, and tenant improvements (TIs).
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MARKET VALUE
The most probable price which a property should bring in a competitive and open market under all conditions
requisite to a fair sale, the buyer and seller each acting prudently and knowledgeable, and assuming the price is not
affected by undue stimulus. Implicit in this definition is the consummation of a sale as of a specified date and the
passing of title from seller to buyer under conditions whereby:

∙ Lessee and lessor are typically motivated.
∙ Both parties are well informed or well advised and acting in what they consider their best interests.
∙ A reasonable time is allowed for exposure in the open market.
∙ Payment is made in terms of cash in United States dollars or in terms of financial arrangements comparable
   thereto; and
∙ The price represents the normal consideration for the property sold unaffected by special or creative financing or
   sales concessions granted by anyone associated with the sale. (12 C.F.R. Part 34.42(g) Federal Register 34696,
   August 24, 1990, as amended at 57 Federal Register 12202, April 9, 1992; 59 Federal Register 29499, June 7,
   1994)

MARKETING TIME
An opinion of the amount of time it might take to sell a real or personal property interest at the concluded market
value level during the period immediately after the effective date of an appraisal. Marketing time differs from
exposure time, which is always presumed to precede the effective date of an appraisal. (Advisory Opinion 7 of the
Appraisal Standards Board of The Appraisal Foundation and Statement on Appraisal Standards No. 6, “Reasonable
Exposure Time in Real Property and Personal Property Market Value Opinions” address the determination of
reasonable exposure and marketing time.)

MORTGAGE-EQUITY ANALYSIS
Capitalization and investment analysis procedures that recognize how mortgage terms and equity requirements
affect the value of income-producing property.

NET PROCEEDS
In subdivision discounted cash flow analysis, gross proceeds less holding, and sales costs and any line-item profit
associated with a subdivision project.

PROFIT
   1. The amount by which the proceeds of a transaction exceed its cost.
   2. In theoretical economics, the residual share of the product of an enterprise that accrues to the entrepreneur
      after paying interest for capital, rent for land, and wages for labor and management. See also
      entrepreneurial profit.
   3. In accounting, an increase in wealth that results from the operation of an enterprise. Gross profit usually is
      the selling price minus cost; items such as selling and operating expenses are deducted from gross profit to
      indicate net profit.

PROFIT MOTIVE
The desire to earn a favorable financial return on a business venture.
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PROSPECTIVE VALUE OPINION
A prospective market value may be appropriate for the valuation of a property interest related to a credit decision for
a proposed development or renovation project. According to USPAP, an appraisal with a prospective market value
reflects an effective date that is subsequent to the date of the appraisal report. Prospective value opinions are
intended to reflect the current expectations and perceptions of market participants, based on available data. Two
prospective value opinions may be required to reflect the time frame during which development, construction, and
occupancy will occur. The prospective market value—as completed— reflects the property’s market value as of the
time that development is expected to be completed. The prospective market value—as stabilized— reflects the
property’s market value as of the time the property is projected to achieve stabilized occupancy. For an income-
producing property, stabilized occupancy is the occupancy level that a property is expected to achieve after the
property is exposed to the market for lease over a reasonable period of time and at comparable terms and conditions
to other similar properties.

SUBDIVISION
A tract of land that has been divided into lots or blocks with streets, roadways, open areas, and other facilities to its
development as residential, commercial, or industrial sites.

SUBDIVISION DEVELOPMENT METHOD
A method of estimating land value when subdivision and development are the highest and best use of the parcel of
land being appraised. When all direct and indirect costs and entrepreneurial incentive are deducted from an estimate
of the anticipated gross sales price of the finished lots, the resultant net sales proceeds are then discounted to present
value at a market-derived rate over the development and absorption period to indicate the value of the land.
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Additional Photographs




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                      View of Commercial Property Abutting Subject




                                  Typical View of Site
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Will Tallevast
31 Cornus Dr
Savannah, GA 31406
August 14th, 2023


Mandy Barnhill
E.F. Hucks and Associates
3320 South Highway 17
Murrells Inlet, SC 29576


Dear Mandy:

Please proceed with Consulting Services concerning the Tallevast Tract in Florence, SC as described in
proposal dated 8/2/23 to Ross Appel with McCullough, Khan, and Appel. Requests for Services will be
directed and work through by Ross Appel.

I have enclosed the $3000.00 retainer. I look forward to the work performed

Sincerely,



Will Tallevast
Tally’s Properties
912-658-5265


CC: Ross Appel via Email
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        August 2, 2023

        Ross Appel
        Attorney
        McCullough, Khan, Appel
        2036 Ewall Street
        Mount Pleasant, SC 29464


        Dear Mr. Appel:

        Thank you for choosing E.F. Hucks Consulting, LLC, for your real estate consulting
        needs. I am confident that you will be very satisfied with the services that we offer.

        Enclosed please find our Appraisal Consultant/Potential Expert Witness Designation
        Services Agreement. If this Agreement is acceptable to you, please sign and return to
        our office via email to mandyb@efhucksinc.com or fax it to (843) 448-1925. Once
        we receive the signed Agreement from you, we will process your request.

        If you have questions, please don’t hesitate to contact us.

        Sincerely,




        Edward F. Hucks, MAI, SRA
        Manager, E.F. Hucks Consulting, LLC
        SC State Certified General Real Estate Appraiser #CG138
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E. F. HUCKS
CONSULTING, LLC


                           Appraisal Consultant/Potential Expert Witness Designation


August 2, 2023

Ross Appel
McCullough, Khan, Appel
2036 Ewall Street
Mount Pleasant, SC 29464

Re:
           William D. Tallevast, V Tract
           Florence, SC 29501
           Consulting Services

Dear Mr. Appel:

We are pleased to be retained by you as consulting experts in connection with your representation
of Tallevast in the above matter. We also understand that we may be asked to provide expert
witness services and testimony in the matter should it become necessary.

This engagement letter sets forth the terms of our services. If these arrangements are acceptable,
please sign the enclosed copy of this letter, have your client sign it as well, and return it to us at
your earliest opportunity along with the $3,000 retainer mentioned below.

Independent Nature of Services. Our services will be delivered in a manner that is independent,
impartial, and objective. We do not warrant the outcome of this matter, and neither the amount
nor payment of our fees is contingent on any result.

Services Provided. The services provided will be delivered in the following phases as needed:

      •    Phase I: Research the property, locate and analyze market sales for comparable data for
           the subject property as well as obtain from client or other sources development cost
           estimates to complete the development of the proposed subdivision.
           (Estimated Time: 15–20 hours)
      •    Phase II: Phone call or meeting to discuss the findings in Phase I.
           (Estimated Time: 1–2 hours)




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MURRELLS INLET                                  MYRTLE BEACH                           CONTACT
Inlet Crossing                                  Founder’s Centre                       Phone: (843) 443-3159
3320 Highway 17 South                           2411 North Oak Street, Suite 201       Fax: (843) 448-1925
Murrells Inlet, SC 29576                        Myrtle Beach, SC 29577                 Website: efhucks.com
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E. F. HUCKS
CONSULTING, LLC


     •     Phase III: Compile information gathered in Phase I into a narrative appraisal report to be
           completed by E.F. Hucks & Associates, Inc. A separate engagement letter will be
           provided during this phase that will detail the scope and purpose of the appraisal.
           (Estimated Time: 10–12 hours)
     •     Phase IV: Court appearance to provide expert witness services and/or testimony.
           (Estimated Time: As needed)

Fees and Expenses. Our fees will be based on the actual hours expended at our standard rates.

           Current hourly rates are:
           $295.00 per hour

Our rates are subject to change periodically. We will provide detailed invoicing of the time
devoted to the assignment (i.e., the respected phase with actions taken, dates, hours, travel, etc.)
to you for delivery to and payment by your client after the appraisal is complete. Invoiced
amounts are due and payable within 10 business days of receipt of the invoice. Any invoices
which are past due 30 days or more are subject to a service charge of fifteen percent (15%) per
annum.

Responsibility for Payment. We understand you are retaining our services in connection with
the representation of your client. While we will be issuing our invoices directly to you for
delivery to your client, your client shall be responsible for payment in accordance with the terms
stated in this letter and has acknowledged that responsibility by signing below. However, in the
event that your client fails to pay for our fees and expenses on a timely basis, your firm agrees to
pay the balance owed.

Retainer. It is our policy to collect a retainer and receive the fully executed engagement letter
before we begin providing services. The retainer for this matter shall be $3,000. This retainer will
be applied to our final invoice for time and expenses, with any unused amount refunded to the
party who paid the retainer unless that party directs, in writing, that the refund be paid to a
different party.

Right to Withhold Services and/or Withdraw. Without liability on our part and without regard
to the stage of litigation, we shall have the right to withhold providing services (including
delivering any report or providing testimony) or withdraw completely, at our sole option, if any
of our invoices are not timely paid or if we determine that an irreconcilable conflict has arisen.




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E. F. HUCKS
CONSULTING, LLC


Reliance on Expert Reports: In the event that we prepare any expert reports as part of this
engagement, the use of any such expert reports shall be limited to litigation of the above
referenced matter. The expert reports may not be used or relied on, in whole or in part, for any
other purposes.

Valuation Dates: If the development of any appraisal opinions is needed in this engagement,
your firm shall have responsibility for determining and advising us of the date(s) of value that are
legally pertinent to the matter.

Confidentiality and Recordkeeping. We will maintain the confidentiality of all information and
documentation received during our work and will abide by all court orders and applicable
professional appraisal standards regarding the disclosure of information relating to this matter.

Other Clients and Matters. The value of our services to you and your client is based, in part, on
our reputation for independent professionalism and integrity. It is possible that we may be
engaged by other law firms representing parties adverse to you or your client in other matters in
the future. Your engagement of our services is expressly conditioned on your agreement not to
use the fact of our current or previous engagement by other counsel in other matters as a means to
enhance or diminish the credibility of our opinions or testimony in this matter or in any other
matter.

Subpoenas and Testimony. In the event that our firm or any of its owners, appraisers, or
employees is required by subpoena or other legal process to provide testimony or produce
documents relating to our services or work product in connection with this engagement, whether
as an expert or percipient witness, and whether in court, deposition, arbitration, or in any other
proceeding, and regardless of the identity of the party requiring such testimony or production of
documents, your client agrees to compensate our firm for the time incurred in connection with
preparation for and provision of such testimony and/or documents at our regular hourly rates in
effect at that time for expert/testimonial services and to reimburse our reasonable actual expenses.
The foregoing shall not apply to the extent that a third party pays our fees or expenses.

Hold Harmless and Limitation of Liability. To assure that our services in this matter can be
rendered freely and independently, your client agrees to indemnify, defend, and hold harmless our
firm, its owners, appraisers, and employees from and against any and all liabilities, losses, costs,
and expenses relating to our consulting or testimonial services under this engagement. The
foregoing shall not apply to any matter resulting from our gross negligence or willful misconduct.
In any case, however, the total collective liability of our firm, its owners, appraisers, and
employees for all claims of any kind arising out of, relating to, or connected with this engagement
shall be limited to the total fees paid to us under this engagement.


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E. F. HUCKS
CONSULTING, LLC


Sincerely,




____________________________________
Edward F. Hucks, MAI, SRA
Manager, E.F. Hucks Consulting, LLC
SC State Certified General Real Estate Appraiser #CG138



Approved as to engagement:


By: _________________________________
Ross Appel
McCullough, Khan, Appel

       8-8-23
Date: _______________________________


Approved as to engagement terms and
fees by William D. Tallevast, V:


By: ________________________________

Name: ______________________________

Title: ________________________________

Company: ____________________________

Date: ________________________________




                                                                                       Page 4 of 8
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